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Date: 08/17/2021 Facility: PHL
Time: 05:16 PM Federal Bureau of Prisons

TRULINCS

Message

Sensitive But Unclassified

[Message
FROM: 34945509 REHL, ZACHARY WILLIAM
TO

SUBJECT: Yo Yo what up
DATE: 06/30/2021 08:39 PM

Good evening bro,

Just to give you a heads up, these emails take a while to go back and fourth sometimes, they monitor all my emails, so my
emails are at the mercy of someone's work schedule, lol. Sometimes the poor person has to work on Sundays, but still hooks it
up and approves them, other times the person only works Mon-Fri, so that's usually the only time incoming and outgoing emails
will be approved. If | don't get back to any of your emails, they either didn't approve it, or | didn't get it yet, cuz | answer literally
every single email | get: not sure if you spent time in the Feds, but there isn't much else to do in pre-trial detention but workout,
read, and talk through email, (I don't watch TV here, even in the feds, | have better things to do than watch fuckin TMZ and the
View un-fuckin-believable thev watch this shit in here riaht? | mfao)

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TRULINCS

Message

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Message
FROM: 34945509 REHL, ZACHARY WILLIAM
TO:

SUBJECT: What up
DATE: 07/14/2021 08:27 PM

Yo yo, its been a little while now eh? lol. Manda said you didn't know why | didn't talk to you, if you knew how many times |
asked Aaron and Sonny to ask everyone for emails and got nothing back, you would know, Lol. Royal ball dropped there, shit,
but whatever, it is what it is, I'm emailing now! lol How the hell you been man? | miss you bro, this shit fuckin sucks, never
thought I'd be in the feds for some stupid shit like going to a fuckin protest, wtf... (face palm.) Anyway, I'm not gonna get in too
many details about anything there, they monitor these emails like crazy and | pay a lawyer to worry about that crap, this way |
can continue on with how shitty the food is and vow to leave bad yelp reviews for the poor cuisine when | get out, lol. With the
monitoring in mind, sometimes it may take a day or two for me to get an email you send, so if | don't respond right away, its
because of the monitoring. | heard you guys had some good parties at your place in the meantime, anyone break the towel rack
